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                 EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                  )                  MDL No. 2492
 IN RE NATIONAL COLLEGIATE                        )
 ATHLETIC ASSOCIATION STUDENT-                    )        Master Docket No. 1:13-cv-09116
 ATHLETE CONCUSSION INJURY                        )
 LITIGATION                                       )           This Document Relates To:
                                                  )                   All Cases
                                                  )
                                                  )                Judge John Z. Lee
                                                  )
                                                  )    Magistrate Judge Geraldine Soat Brown

                        DECLARATION OF JOHANNA SPELLMAN

       I, Johanna Spellman, declare as follows:

       1.      I am an attorney with Latham & Watkins LLP, counsel of record for the National

Collegiate Athletic Association (“NCAA”). On July 30, 2014, I was appointed by the Court as

Liaison Counsel for the NCAA. I make this declaration based upon my personal knowledge, and

I am competent to testify as to its contents.

       2.      On December 17, 2014, this Court issued its Memorandum Opinion and Order,

directing the Parties to select nine (9) NCAA member institutions (i.e., three (3) from each

division) and request that those institutions provide the address and contact information they

maintain for members of the proposed Settlement Class, as that term is defined in the Amended

Settlement Agreement. See Dec. 17, 2014 Mem. Op. and Order (Dkt. #115) at 15.

       3.      After the issuance of the Court’s December 17, 2014 Memorandum Opinion and

Order and following the December 19, 2014 hearing, counsel for the NCAA began contacting

NCAA member institutions to discuss their respective institutions’ ability to provide name and

contact information for student-athletes. Specifically, the NCAA’s counsel asked member

institutions to describe the scope, nature and extent of records maintained by those institutions
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regarding the names and last-known addresses of individuals who have participated in NCAA-

sanctioned sports while enrolled at each institution.

        4.      An effort was made to ensure not only that member institutions from each NCAA

division were contacted, but that the member institutions were otherwise broadly representative

(e.g., private versus public, geographic location, respective size of the athletic department, etc.).

        5.      On February 23, 2015, I filed a declaration describing the efforts that had been

made to date. See Spellman Decl. (Dkt. #142-2). Since that filing, in-house counsel for the

NCAA and I have continued to reach out to member institutions. In total, in-house counsel for

the NCAA or I have conferred with twelve (12) NCAA member institutions (six (6) in Division

I, three (3) in Division II and three (3) in Division III).1

        6.      From these discussions, we learned that there is variety among the NCAA

member institutions in terms of how their student-athlete contact information is maintained.

Some member institutions maintain that information in a way that identifies student-athletes.

Others maintain alumni contact information that does not distinguish between athletes and non-

athletes. Some institutions also maintain rosters of various sports that can then be matched up

against broader lists of current and former students. Some institutions were able to confirm that

for each name identified, the data they maintain includes at least one point of contact (e.g., an

email, phone number or mailing address) that is current.2


1
    I have personally conferred with seven (7) member institutions and have conferred with in-
house counsel for the NCAA regarding their communications with the other member institutions.
2
     In my February 23, 2015 Declaration, I noted that many institutions maintain the Social
Security Account Numbers (“SSANs”) of their students and student-athletes and suggested that
information could be useful in obtaining current addresses of members of the Settlement Class
whose last-known addresses could not be used to determine current addresses through other
means. See Spellman Decl. (Dkt. #142-2) at ¶ 7. I also noted that member institutions raised
privacy and security concerns regarding providing SSANs. See id. at ¶ 9. Through subsequent
                                                                                             (continued...)



                                                    2
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           7.    Several institutions that were contacted explained that the institution’s athletic

department maintains separate contact data for current and former student-athletes. Others stated

that outside, Section 501(c)(3) tax-exempt organizations (e.g., alumni associations and

development groups) maintain the most comprehensive sets of student-athlete contact

information available.3

           8.    During the discussions with various member institutions, the issues of privacy and

compliance with applicable state and federal law were repeatedly raised. As a general matter,

the institutions that were contacted expressed the view that their respective institutions and/or the

alumni associations and development groups that maintain contact information would require a

subpoena before providing that information in order to ensure compliance with, inter alia, the

Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g.

           9.    On balance, the institutions contacted estimated that they and their affiliated

organizations maintain contact data identifying student-athletes going back approximately

twenty-five (25) to thirty (30) years, although some institutions indicated that their data is less

circumscribed than that. Based upon the information obtained from the institutions contacted,

however, we believe it would be reasonable to assume that on average, member institutions will

in most instances have names and last-known addresses for student-athletes who participated in

NCAA-sanctioned sports over the course of the last twenty-five (25) to thirty (30) years.

(...continued)
discussions, the Parties have determined to not seek SSANs due to the privacy and security
concerns raised by many member institutions.
3
     In my February 23, 2015 Declaration, I noted that I had asked the proposed Notice
Administrator, Gilardi & Co. LLC (“Gilardi”), to consider how databases and publicly-available
information could be used to obtain rosters from which student-athletes could be identified. See
Spellman Decl. (Dkt. #142-2) at ¶ 15. After subsequent discussions with Gilardi, the Parties
concluded that the potential yield from such resources would likely be very low and would not
justify the considerable anticipated expense associated with such manual searches.



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       10.     The Amended Notice Plan makes clear that direct, mailed notice will be provided

to all members of the Settlement Class for whom the Parties are able to obtain a name and last-

known address from NCAA member institutions or other sources. See Vasquez Decl. (Dkt.

#162) at ¶¶ 8, 20-31. The Parties have further specified in the Amended Notice Plan the need for

the issuance of subpoenas and propose appropriate allowances in terms of timing and relevant

deadlines. See id. at ¶¶ 21, 48.

       11.     For purposes of analyzing the cost and feasibility of direct notice, based on the

information we learned from the member institutions that were contacted, we have assumed that

NCAA member institutions would be able to provide contact information for current student-

athletes and for former student-athletes who played up to thirty (30) years ago. This would mean

that approximately 2.9 million direct, mailed notices would be sent to members of the Settlement

Class, based upon calculations performed for the NCAA by The Claro Group, the economic

consultants retained by the NCAA.

       12.     The Parties have asked Gilardi to include in the Amended Notice Plan the

estimated cost of providing direct notice to these 2.9 million class members and to estimate the

percentage of the Settlement Class to whom it is feasible to send direct, mailed notice. The

Parties have also asked Gilardi to consider the fact that some of the contact information may not

be current and to consider the costs of running contact information against the United States

Postal Service change of address database, otherwise known as NCOA. The Parties have asked

Gilardi to make reasonable estimates of the percentage of mail that will be returned as

undeliverable, based on Gilardi’s experience administering notice programs for nationwide class

action settlements. The Parties have also asked Gilardi to make reasonable estimates as to how




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